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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

LIBERTARIAN NATIONAL           |
            COMMITTEE, INC.,   |
     Plaintiff,                |
  v.                           |                 CIVIL ACTION NO.:
                               |
MIKE SALIBA, et. al.           |                 23-cv-11074
     Defendants                |
                               |                 Hon. Judith E. Levy
_______________________________|

        PLAINTIFF'S REPLY TO DEFENDANTS' RESPONSE TO
       PLAINTIFF'S MOTION FOR PRELIMINARY INJUNCTION
      Plaintiff, the Libertarian National Committee, Inc. ("LNC"), respectfully

replies to Defendants' Response. Defendants' Response confirms the need for this

Court to issue a preliminary injunction before more harm to the Libertarian Party

occurs. Throughout their entire Response, Defendants expressly state their active,

aggressive intent and concerted efforts to irreparably damage the Libertarian Party

brand by posing as the Libertarian Party.

      Political Speech - Defendants have a right to express their political opinions

about the Libertarian Party or any other party, as pointed out in Defendants' case

citations in their brief, but they must properly identify themselves, not deceive the

public as to the source of those opinions. Defendants’ use of "Libertarian Party" as

the name of their organization is not the expression of a political opinion and is

thus is not political speech, it is simply a misdirection as to the origin of

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Defendants' political speech.1 All of the case law relied upon by Defendants makes

this distinction, i.e., using a party name to identify the party being critiqued is

political free speech, however, identifying as that party by using that party's

trademark to self-identify your own group is not free nor political speech, it is

trademark infringement.

      The Defendants in their case citations are conflating political opinions with

political party names. The first is protected by free speech, the second is protected

by Trademark. Defendants' reliance upon Buckley v. Valeo, 424 U.S. 1 (1976) is

misplaced. Buckley concerns third parties contributing to and soliciting

contributions to political campaigns, not falsely identifying themselves as the

campaign organizations themselves. Political parties have the right to "identify the

people who constitute the association, and to limit the association to those people

only." Democratic Party of United States v. Wisconsin ex rel. La Follette, 450 U.S.

107, 122 (1981). Buckley at 632 also expressly stated that "The First Amendment


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          Defendants, throughout their response, admit that they are using

"Libertarian Party" as a name, not as political speech. (see Defendants' Response at

PageID.612: ". . . a contractual right to use the name "Libertarian Party". . ." and at

PageID613: ". . . Defendants use of the name "libertarian party". . ." and

"defendants from using the name "Libertarian Party"...")

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protects political association as well as political expression."

      Defendants also improperly conflate "commercial activity" with for profit

organizations. No such requirement exists in trademark law, all manner of non-

profit, altruistic, philanthropic and political organizations, are entitled to trademark

protection. The right to enjoin infringement "is as available to public service

organizations as to merchants and manufacturers." N.A.A.C.P. v. N.A.A.C.P. Legal

Defense and Educ. Fund, 559 F. Supp. 13 37, 1342 (D.D.C. 1983), rev'd on other

grounds, 753 2.d 131 (D.C. Cir.), cert. denied , 472 U.S. 1021 (1985).

      The common-sense approach taken in United We Stand America, Inc. v.

United We Stand America New York, Inc., 128 F.3d 86 (2d Cir. 1997) (citing to

Tomei v. Finley, 512 F. Supp. 695, 698 (N.D. Ill. 1981) (PI issued because of

strong likelihood of confusion resulting from political party's use of acronym

designed to deceive voters into thinking the candidate was of the opposing political

party) demonstrates the unreasonableness of Defendants position:

      A political organization that adopts a platform and endorses candidates
      under a trade name performs the valuable service of communicating to
      voters that it has determined that the election of those candidates would be
      beneficial to the objectives of the organization.... If different organizations
      were permitted to employ the same trade name in endorsing candidates,
      voters would be unable to derive any significance from an endorsement, as
      they would not know whether the endorsement came from the organization
      whose objectives they shared or from another organization using the same
      name. Any group trading in political ideas would be free to distribute
      publicity statements, endorsements, and position papers in the name of the


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      "Republican Party," the "Democratic Party," or any other. The resulting
      confusion would be catastrophic, voters would have no way of
      understanding the significance of an endorsement or position taken by
      parties of recognized major names. The suggestion that the performance of
      such functions is not within the scope of "services in commerce" seems to us
      to be not only wrong but extraordinarily impractical for the functioning of
      our political system.

       If "political speech" allowed anyone or any group to pose as the Libertarian

Party or the Democratic Party or the Grand Old Party, this would eliminate the

meaning of political parties. In addition, the Defendants' position on contract

rights in their brief is at odds with their stated position on free political speech. If

any group can identify as The Libertarian Party, then what "contractual right"

could be possessed by Defendants?

      Contractual Rights - This case is not about which group is the "rightful"

LPM, this argument is raised by Defendants simply to distract from the fact that an

unlicensed group is using Plaintiff's trademark. The LNC owns the trademarks, and

thus the LNC has the right to decide who is licensed. Defendants admit that they

were specifically placed on notice by the LNC on February 16, 2023. (see

Response Brief PageID.627) Defendants' "disclaimer" (Brief at PageID.630) also

makes clear that Defendants knowingly acknowledge that they are proceeding

without license recognition from the LNC. The actions of the Defendants in

continuing to hold themselves out as the Libertarian Party of Michigan is



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infringement for which their excuses e.g. “LPM . . . set up the michiganlp.net

website . . . was necessary because [the recognized group controlled]

michiganlp.org.” (Brief at PageID.629), are not legal justification. Defendants

have every right to "defend the rights of libertarians across the country from

national overreach" (Brief at PageID.631) but must do so without using the

Libertarian Party trademark to identify their group.

      As set forth in detail in the Second Declaration of Caryn Ann Harlos [see

Exhibit 43], the Defendants' claim that their personal individual membership in the

legitimate affiliate entitles them to use the Plaintiff's Trademark is without merit

and ignores the established internal rules of the Libertarian Party. The LPM which

presently exists under the leadership of Mr. Chadderdon is the same affiliate that

has existed continuously since 1972. [see Exhibit 42, Declaration of Angela

McArdle, and Exhibit 43, Second Declaration of Caryn Ann Harlos]. The alleged

internal dispute over the elected leadership of the properly recognized affiliate has

no bearing on trademark infringement and is not justification for forming a rogue

group and infringing the LNC trademarks to confuse the voting public.

      Likelihood of Confusion - Defendants concede confusion by their own

description of the education program they have engaged in to combat and

simultaneously create confusion. Defendants' own false claim (Brief at



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PageID.630) "The Libertarian Party of Michigan is the state-level affiliate of the

Libertarian Party" followed by the admission "Notably, the Libertarian National

Committee (LNC), which is the governing arm of the Libertarian Party at the

national level, has thrown its support behind Mr. Chadderdon," itself causes

confusion. Defendants claim that they are, and then admit that they are not, the

recognized "Libertarian Party" of Michigan. The attached declarations of

Chadderdon and Harlos [Exhibits 41 and 43] detail additional instances of actual

confusion.

      Equities / public interest - Defendants’ first equities assertion improperly

narrows the relevant public to “donors.” The relevant pubic is voters, Libertarian,

undecided, Democratic and Republican. All of these voters will be misled as to the

positions and platform of the true “Libertarian Party” if Defendants are allowed to

continue to confuse the public. The Libertarian party, as set forth in the moving

papers has a National recognition and the vast majority of the relevant public is

likely to be confused by Defendants infringing use of the name.

      Defendants’ second argument is an appeal to the court to allow the

Defendants to continue to profit from their improper use of Plaintiff’s name. If

Defendants had a legitimate argument in the “governance dispute” a PI would have

no negative effect. Defendants have already informed their members that the



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National Party does not recognize them. A PI would simply confirm this

statement. Defendants already recognize that claiming a right to use the National

party mark is a false claim. There is no equity in allowing Defendants to continue

to infringe.

      Defendants have the public interest backwards. The public is served by

accuracy in naming the source of public speech, especially political speech. The

public is harmed by confusion, i.e., when two separate entities claim to be speaking

for the “Libertarian Party” especially when both acknowledge that only one of

those groups is actually officially recognized by the National Libertarian Party.

                                   CONCLUSION

      Defendants’ admitted intent to continue to improperly hold themselves out

and publish their own political views as the official political views of the

Libertarian Party, especially at the beginning of a national election cycle, must be

enjoined to prevent irreparable harm.


Respectfully Submitted,                 July 22, 2023

       /s/ Joseph J. Zito
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                          CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the forgoing Reply to Response To
Motion for Preliminary Injunction and accompanying Declarations, and Exhibits
was filed on July 22, 2023 with the United States District Court for the Eastern
District of Michigan through the CM/ECF system, and that all counsel of record
were served by the CM/ECF System.


                                              Respectfully Submitted:

                                               /s/ Joseph J. Zito
                                              Joseph J. Zito




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